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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                   DISTRICT OF MAINE

LORI ROY,                                               )
Petitioner,                                             )
                                                        )      Docket No.: 1:16-cv-00592-NT
vs.,                                                    )
                                                        )
MARY C. MAYHEW,                                         )
Commissioner, DEPARTMENT                                )
OF HEATH AND                                            )
HUMAN SERVICES and the DEPARTMENT                       )
OF HEALTH AND HUMAN SERVICES,                          )
Respondents. 1                                         )

                            JOINT STIPULATION OF DISMISSAL
        IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that pursuant

to a Settlement Agreement and Release reached on June 29, 2017 at a judicial settlement conference,

presided over by U.S. Magistrate Judge Nivison, that this action should be dismissed with prejudice.



SEEN AND AGREED:                               SEEN AND AGREED:

/s/Peter M. Rice, Esq.                         /s/ Kelly L. Morrell
Peter M. Rice, Esq. Bar No. 7277               Kelly L. Morrell,
DISABILITY RIGHTS MAINE                        Halliday Moncure,
24 Stone Street, Suite 204                     Assistant Attorneys General
Augusta, ME 04330                              OFFICE OF THE ATTORNEY GENERAL
(207) 626-2774                                 6 State House Station
Attorney for Petitioner                        Augusta, ME 04333-0006
                                               (207) 626 8552
                                               Attorneys for Respondents




SO ORDERED.


1
 Effective May 26, 2017, Mary Mayhew resigned as Commissioner and Ricker Hamilton was named
Acting Commissioner. Pursuant to Fed. R. Civ. P. 25(d), Ricker Hamilton is automatically substituted as
the named Defendant. For ease of reference, Mr. Hamilton will be referred to herein as Commissioner.
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Dated: _______________________    _______________________________
                                  U.S. Chief District Judge
